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                                                     THE HONORABLE JOHN C. COUGHENOUR
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 6
                                  UNITED STATES DISTRICT COURT
 7
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE

 9   UNITED STATES OF AMERICA,                              CASE NO. C21-1291-JCC
10                               Plaintiff,                 ORDER
11          v.

12   $18,000 IN U.S. CURRENCY, and any
     accrued interest, and $882 IN US
13   CURRENCY, and any accrued interest,
14                               Defendants.
15

16          THIS MATTER having come before the Court on the joint motion of the parties to stay
17   this proceeding pending completion of a related criminal case investigation pursuant to 18 U.S.C.
18   §§981((g)(1) and (g)(2) (Dkt. No. 12), and the Court having considered the matter and good
19   cause appearing therefor;
20          IT IS HEREBY ORDERED that the parties’ joint motion to stay this proceeding pursuant
21   to 18 U.S.C. §§981 (g)(1) and (g)(2) is GRANTED, and this matter is hereby stayed pending the
22   conclusion of the related criminal investigation of Claimant Michael Walker, or until further
23   order of the Court.
24          IT IS FURTHER ORDERED that the time for Claimant to file an Answer or other
25   responsive pleading to the Complaint pursuant to Rule G(5)(b) of the Supplemental Rules for
26   Admiralty and Maritime Claims and Asset Forfeiture is tolled from the date of the filing of the

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 1   Joint Motion for Stay through the date of the entry of this Order.

 2          IT IS FURTHER ORDERED that either party may request a lifting of the stay at any

 3   time pursuant to a written motion, and

 4          IT IS FURTHER ORDERED that in the event that the related criminal investigation not

 5   been completed, the parties shall file a Status Report within six months of the entry of this Order.

 6          IT IS SO ORDERED THIS 3rd day of November 2021.




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                                                          John C. Coughenour
10                                                        UNITED STATES DISTRICT JUDGE
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     C21-1291-JCC
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